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    7
                                   UNITED STATES DISTRICT COURT
    8
                               CENTRAL DISTRICT OF CALIFORNIA
    9

   10   JORDAN OROZCO MADERO and                     Case No. 5:24-cv-00073-KK-DTB
        ESTEBAN OROSCO on behalf of
   11                                                PLAINTIFFS' RESPONSES TO
        themselves and all others similarly
        situated,                                    DEFENDANT'S STATEMENT OF
   12
                                                     UNCONTROVERTEDFACTS
   13                  Plaintiffs,
                                                     rFiled concurrently with Plaintiffs'
   14   V.
                                                     Opposition to Defendant's Partial
                                                     Motion for Summary Judgment]
   15
        McLANE FOODSERVICE, INC., a
   16   Texas Corporation, and DOES 1-10,                           HEARING:
        inclusive,
   17                                                  Judge:      Hon. Kenly Kiya Kato
                       Defendants.                     Date:       September 19, 2024
   18                                                  Time:       9:30 a.m.
   19                                                  Location:   Courtroom 3

   20

   21
        _____________                            _____,
                                                     Complaint Filed: January 12, 2024

   22

   23

   24
   25
   26

  27
  28
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    1         Plaintiffs submit this Statement of Genuine Issues pursuant to Central
    2
        District of California Local Rule 56-2 in opposition to the Motion for Summary
    3

    4   Judgment filed by Defendant McLane.

    5         Facts 1-49 below correspond with the evidence submitted by the moving
    6
        party. The facts are followed by additional material facts and supporting evidence
    7
    8   showing genuine issues where appropriate.
    9

   10

   11
         No. Defendant's Alleged                        Plaintiffs' Response and Evidence
             Uncontroverted Facts and
   12        Supporting Evidence
   13    1.    McLane Foodservice, Inc. ("MFS")         Undisputed. However, this is not a
               1s a       nationwide foodservice        material fact.
   14          distributor.
   15
         2.    MFS maintains a nationwide               Undisputed. However, this is not a
   16          network of distribution centers          material fact.
               ("DCs ), one of which is located in
   17
               Riverside, CA (the "Riverside DC").
   18
         3.    MFS's customers supplied from the        Undisputed. However, this is not a
   19          Riverside DC are ( 1) national           material fact
   20          restaurant chains or their affiliated
               cooperative     purchasing     entity
   21
               ("Chain Customers"), including but
   22          not limited to Chick-Fil-A ("CFA"),
               Kentucky Fried Chicken, Long John
   23
               Silvers, A&W, Taco Bell, Pizza
   24          Hut, and Buffalo Wild Wings
               ("BWW"),     and   (2) those   chains'
   25
               respective affiliated franchisee and
   26          corporate-owned            restaurant
               locations ("Restaurant Customers").
   27

   28    4.    MFS procures and distributes food,       Undisputed that McLane distributes
                                                        food, produce,     supplies   and

                                                   l
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              produce, supplies, and promotional      promotional and other items for sale
    2         and other items on behalf of its        and distribution.   Disputed that
              Chain Customers to sell and             McLane does this "on behalf of its
    3         distribute them to their affiliated     Chain Customers."
    4         Restaurant Customers throughout
              the country.
    5
         5.   During the time period of January       Undisputed.
    6
              2021 through the present, MFS has
    7         distributed and delivered products
    8
              from the Riverside DC to Restaurant
              Customers in California, Arizona,
    9         Nevada and Utah.
   10    6.   MFS operates under national             Undisputed that MFS has some
   11         distribution agreements with each of    distribution agreements.
              its Chain Customers to supply and
   12
              distribute proprietary and non-         Disputed as to "each of its Chain
              proprietary food, produce, supplies,    Customers" statement because MFS
   13
              promotional items, and other            only disclosed a sampling of these
   14
              products      to    their    discrete   agreements.
   15         populations of affiliated Restaurant    Disputed to the extent that this
              Customers.                              statement assumes MFS 1s a
   16
                                                      "supplier."      MFS'    corporate
   17                                                 testimony 1s that MFS 1s a
   18                                                 "distributor." Hayes Depo., 11: 15-
                                                      13: 16.
   19
         7.   Based on its national distribution      Undisputed that McLane resells and
   20
              agreements     with    its  Chain       distributes them to restaurants.
   21         Customers, MFS purchases products       Disputed as to the applicability of
              from suppliers and resells and          this statement to all "its Chain
   22
              distributes them to the Restaurant      Customers" because MFS only
   23         Customers.                              disclosed a sampling of these
                                                      agreements.
   24
         8.   MFS's procurement department is         Disputed. See Response to No. 4.
   25
              responsible for ordering products on
   26         behalf of Chain Customers to be         Disputed as to "last mile delivery",
              purchased by their respective           which is a legal conclusion and not
   27                                                 a "fact."
              affiliated Restaurant Customers
   28         from MFS's DCs, including the           See   also    Plaintiffs'   Evidentiary


                                                2
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              Riverside DC, for last mile delivery    Objections filed separately.
    2         by MFS to those Restaurant
              Customers.
    3
              Taub Deel., ~ 6.
    4

    5    9.   While some of the products ordered      Undisputed that MFS has some
              for the Riverside DC for delivery by    distribution agreements.
    6         MFS to Restaurant Customers
              originate in California, the majority   Disputed as to the applicability of
    7
              of the products are ordered from        this statement to all "Restaurant
    8         suppliers m states outside of           Customers" because MFS only
              California.                             disclosed a sampling of these
    9
                                                      agreements.
   10
                                                      Disputed      because      McLane' s
   11                                                 corporate witness said he did not
   12
                                                      know the breakdown of out-of-state
                                                      and in-state products that were
   13                                                 shipped into the distribution center.
   14
                                                      Tiblier Depo., 14:4-15.

   15                                                 See also Plaintiffs' Evidentiary
                                                      Objections filed separately.
   16
         10. Under its national distribution          Disputed. See Response to No. 4.
   17
             agreements      with     its   Chain     Disputed as to "its National
   18        Customers, MFS purchases products        distribution agreements with its
             to fulfill the anticipated orders for    Chain      Customers"    statement
   19
             those products from the Chain            because MFS only disclosed a
   20        Customers' affiliated Restaurant         sampling of these agreements.
             Customers, and MFS purchases the
   21
             products only from designated            Disputed that McLane "anticipates"
   22        suppliers specified or approved by       any ordering. McLane's corporate
             the Chain Customer.                      witnesses testified that products it
   23                                                 receives at its Riverside distribution
   24
                                                      center     remam       m      "general
                                                      inventory" unless and until the local
   25                                                 franchises m California place
   26                                                 separate orders for those products,
                                                      which McLane then resells on the
   27                                                 retail market for a profit. See Hayes
   28                                                 Depo.,     17:15-23,     18:20-21:13,
                                                      25:21-26:15, 37:11-14; Taub Dep.,

                                                3
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    1                                                   8:17-10:12, 19:12-17, 20:9-22:14,
    2                                                   36:3-7. TiblierDep., 44:1-17.
    3

    4                                                   See also Plaintiffs' Evidentiary
    5
                                                        Objections filed separately.

    6    11. Each Chain Customer designates             Disputed as to what "each Chain
             various suppliers from which MFS           Customer" does since McLane only
    7        is required to purchase the food,          produced samples of various master
    8        produce, supplies, and promotional         services agreements.
             and other items that MFS will be
    9        distributing to the Chain Customer's       See Response to No. 4, 10.
   10        affiliated Restaurant Customers.
   11    12.   The Chain Customer, in tum, enters       Undisputed that Chain Customers
   12
               into agreements or understandings        enter into agreements with suppliers
               with those suppliers for them to         that ship directly to McLane where
   13          supply a certain volume of their         they are then inventoried and stored
   14
               product for the Chain Customer's         for general inventory.             See
               affiliated Restaurant Customers-         Response to No. 4, 10. Tiblier
   15          which MFS purchases from those           Depo., 40:22-24, 43:4-7, 47:4-24
   16
               suppliers to fulfill orders from those   (confirming       that      McLane' s
               Restaurant Customers.                    suppliers ship directly to the
   17                                                   distribution center; 43 :4-7, 46:4-24,
   18
                                                        48:4-10. (explaining explained that
                                                        shipper, Simmons Foods, Inc.
   19                                                   according to one order ships boxes
   20                                                   of chicken wmgs from Gentry,
                                                        Arkansas directly to Defendant's
   21                                                   distribution center m Riverside,
   22                                                   California); Hayes Dep., 24:2-5 (all
                                                        products are for resale); Corporate
   23                                                   FRCP 30(b)(6) Representative Mike
   24                                                   Taub Deposition ("Taub Dep. "),
                                                        36:3-7 (same).
   25
                                                        Disputed that McLane ts a
   26
                                                        "purchaser." See Response to No. 4.
   27                                                   Declaration of Anthony Klish ISO
                                                        Plaintiffs MSA, ,r3 (Restaurants do
   28
                                                        not have pre-set orders to McLane


                                                  4
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    1                                                for     products ... A   Restaurant
    2                                                employee looks at the inventory in
                                                     their individual store and then
    3                                                determines what products are
    4                                                needed to replenish the inventory
                                                     based upon needs and expected
    5                                                business ... Typically,          the
    6                                                Restaurant's orders are fulfilled by
                                                     McLane within 2-3 days.").
    7
         13. If a Chain Customer has designated      Disputed that McLane 1s a
    8
             more than one supplier for a            "purchaser." See Response to No. 4
    9        particular product (e.g., fresh
             chicken), it dictates and allocates     See also Plaintiffs' Evidentiary
   10                                                Objections filed separately.
             how much of that product MFS can
   11        purchase from each such supplier for
   12
             the Chain Customer's affiliated
             Restaurant Customers.
   13
         14. A majority of the products MFS          Undisputed that some of the items
   14        orders for sale and delivery to the     are proprietary but this 1s not
   15        Restaurant Customers that are           material.
             supplied by the Riverside DC are
   16
             proprietary products, which are         Disputed to the extent that this
             specific to and can only be             statement assumes MFS 1s a
   17
             purchased by and delivered to a         "supplier."      MFS'    corporate
   18
             Chain      Customer's      affiliated   testimony 1s that MFS 1s a
                                                     "distributor." Hayes Depo., 11: 15-
   19        Restaurant Customers (e.g., BWW
             or CFA restaurants).                    13: 16.
   20
                                                     See also Plaintiffs' Evidentiary
   21                                                Objections filed separately.
   22    15. For example, when MFS orders            Undisputed.
   23        chicken wings for BWW, it orders
             them from a supplier designated and
   24        approved by BWW.
   25
         16. BWW's          designated supplier      Undisputed.
   26        typically packages the chicken
   27        wings MF S orders in B WW-branded
             cases (i.e., boxes).
   28



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         17.   MFS can only sell and deliver those    Undisputed that certain cases may
    2          BWW-branded cases of chicken           be branded. Disputed that McLane
    3          wmgs it purchases to BWW-              tracks any single case of chicken
               affiliated Restaurant Customers and    wmgs to any one restaurant.
    4          not to any non-affiliated Restaurant   McLane' s      corporate    witnesses
    5          Customers that are supplied by the     testified that after McLane receives
               Riverside DC.                          and stores the shipped products, it
    6                                                 does not track the actual products in
    7                                                 their interstate journey (only the
                                                      pallets or boxes they come in) or
    8                                                 know which McLane customer
    9                                                 received which particular bottle of
                                                      water, chicken wmg or box of
   10                                                 waffle fries. Taub Depo., 11: 11-
   11                                                 13:1, 36:8-25; Tiblier Dep., 61:21-
                                                      62:18.
   12
         18. MFS does not and cannot repackage        Disputed. MFS own Separate
   13
             proprietary products at the Riverside    Statement includes a contrary
   14        DC because they must be delivered        "fact": "The cases of product on the
             to the affiliated Restaurant Customer    pallet received at the Riverside DC
   15                                                 are usually shrink wrapped together
             in their proprietary packaging.
   16
                                                      to avoid cases movmg during
                                                      transit." Since products are not
   17                                                 delivered to restaurants in shrink
   18
                                                      wrapped pallets, then they are
                                                      "repackaged."
   19
         19. MFS places product purchase orders       Disputed. See Response to No. 4.
   20        with Chain Customers' designated
             suppliers across the United States to    Disputed to the extent that this
   21
             fulfill orders projected to be placed    statement assumes MFS 1s a
   22        by Restaurant Customers supplied         "purchasers."      MF S' corporate
             by the Riverside DC.                     testimony 1s that MFS 1s a
   23
                                                      "distributor." Hayes Depo., 11: 15-
   24
                                                      13: 16. MFS' corporate witness
   25                                                 testified that RSCS, not McLane, is
                                                      the "exclusive domestic purchasing
   26
                                                      agent" for all the products and
   27                                                 "negotiates      agreements   with
                                                      suppliers providing for price and
   28
                                                      other terms." Hayes Depo., 11:15-


                                                6
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                                                        13:6.
    2                                                   Disputed as to the applicability of
    3
                                                        this to all    "Chain Customers"
                                                        because MFS only disclosed a
    4                                                   sampling of these agreements.
    5                                                   Disputed      that   McLane       uses
    6                                                   "projections". McLane's corporate
                                                        witnesses testified that products it
    7                                                   receives at its Riverside distribution
    8                                                   center     remam       m      "general
                                                        inventory" unless and until the local
    9                                                   franchises m California place
   10                                                   separate orders for those products,
                                                        which McLane then resells on the
   11                                                   retail market for a profit. See Hayes
   12                                                   Depo.,     17:15-23,     18:20-21:13,
                                                        25:21-26:15, 37:11-14; Taub Dep.,
   13                                                   8:17-10:12, 19:12-17, 20:9-22:14,
   14                                                   36:3-7. TiblierDep., 44:1-17.
   15                                                   See also Plaintiffs' Evidentiary
                                                        Objections filed separately.
   16

   17    20.   Although MFS may not know the            Undisputed that McLane does not
               specific    Restaurant      Customer     know which McLane customer
   18          locations to which the products it       received which particular bottle of
   19          purchases     will ultimately      be    water, chicken wmg or box of
               delivered when they are ordered and      waffle fries. Taub Depo., 11: 11-
   20          shipped by a Chain Customer's            13:1, 36:8-25; Tiblier Dep., 61:21-
   21          designated suppliers, it does know at    62:18.
               that time that they will be sold and
   22          delivered    to    the     Restaurant
   23          Customers affiliated with a specific
               Chain Customer.
   24
         21.   All   purchase orders placed by          Disputed that McLane makes orders
   25
               MFS's procurement department             based on "projections."         See
   26          with Chain Customers' designated         Responses to No. 4, 10, 13.
   27
               suppliers are placed to fulfill orders   Declaration of Anthony Klish ISO
               that MFS and/or the Chain Customer       Plaintiffs MSA, ~ 3 (Restaurants do
   28          projects will be placed by affiliated    not have pre-set orders to McLane


                                                  7
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               Restaurant Customers.                  for     products ... A   Restaurant
    2                                                 employee looks at the inventory in
                                                      their individual store and then
    3                                                 determines what products are
    4                                                 needed to replenish the inventory
                                                      based upon needs and expected
    5
                                                      business ... Typically,          the
    6                                                 Restaurant's orders are fulfilled by
                                                      McLane within 2-3 days.").
    7

    8                                                 Disputed to the extent that this
    9                                                 statement assumes MFS 1s a
                                                      "purchaser."       MFS' corporate
   10                                                 testimony 1s that MFS 1s a
   11                                                 "distributor." Hayes Depo., 11:15-
                                                      13: 16. MFS' corporate witness
   12                                                 testified that RSCS, not McLane, is
   13                                                 the "exclusive domestic purchasing
                                                      agent" for all the products and
   14                                                 "negotiates      agreements   with
   15                                                 suppliers providing for price and
                                                      other terms." Hayes Depo., 11:15-
   16                                                 13:6.
   17
                                                      See also Plaintiffs' Evidentiary
   18                                                 Objections filed separately.
   19    22.   Each purchase order for a product      Disputed that McLane' s customers
               MFS places with suppliers for the      dictate    the     amount   McLane
   20
               Riverside DC is based on historical    purchases from suppliers since these
   21          aggregate sales information for the    needs change weekly so McLane
               Restaurant Customers that order that   has a general inventory of items.
   22
               product from the Riverside DC,         See Responses to No. 4, 10. See
   23          which takes into consideration the     Declaration of Anthony Klish ISO
               weighted moving average of MFS 's      Plaintiffs MSA, ,r 3 (Restaurants do
   24
               product sales to them over the prior   not have pre-set orders to McLane
   25          eight weeks as well as MFS's and/or    for      products ... A   Restaurant
   26
               the Chain Customer's institutional     employee looks at the inventory in
               knowledge of the Restaurant            their individual store and then
   27          Customers' past seasonal and           determines what products are
   28
               anticipated promotional product        needed to replenish the inventory
                                                      based upon needs and expected

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     I         needs.                               business ... Typically,          the
    2                                               Restaurant's orders are fulfilled by
                                                    McLane within 2-3 days.").
    3
                                                    Disputed to the extent that this
    4
                                                    statement assumes MFS 1s a
    5                                               "purchaser."     MFS'    corporate
                                                    testimony 1s that MFS 1s a
    6
                                                    "distributor." Hayes Depo., 11:15-
    7                                               13:16
    8                                               See also Plaintiffs' Evidentiary
                                                    Objections filed separately.
    9                                               McLane produced no actual
    10                                              projections.
    11   23.   All orders placed by MFS for         Disputed that McLane's customers
               products that will be sold and       dictate    the   amount       McLane
    12         delivered to Restaurant Customers    purchases from suppliers since these
    13         supplied by the Riverside DC are     needs change weekly so McLane
               based on MFS's and/or the Chain      has a general inventory of items.
    14         Customer's forecasting of such       See Responses to No. 4, 10.
    15         purchases that will made by those    Obiection: This evidence should be
               Restaurant Customers                 stricken because MFS failed to
    16
                                                    disclose any information or produce
    17                                              any      documents      related    to
                                                    forecasting       and        customer
    18
                                                    projections and purchase orders, in
    19                                              response to discovery, despite
                                                    several meet and confers and
   20
                                                    hearings to resolve Plaintiffs'
   21                                               motion to compel discovery related
   22
                                                    to the MCA exemption. See Fed. R.
                                                    Civ. P. 37(c)(l); Yeti by Molly Ltd.
   23                                               v. Deckers Outdoor Corp., 259 F .3d
   24
                                                    1101, 1106 (9th Cir. 2001).

   25

   26    24.   MFS's distribution agreements with   Disputed as to the applicability o
               its Chain Customers reqmre that      this statement to all of "its Chain
   27          MFS order products for the           Customers" smce McLane only
   28          Riverside DC based on orders         produced a sampling of agreements.
               projected to be placed by the

                                              9
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     1         Restaurant Customers supplied by      Disputed that McLane's       uses
    2          the Riverside DC.                     projections smce the supplies it
    3
                                                     receives are placed m general
                                                     inventory. See Responses to No. 4,
    4                                                10.
    5    25.   MFS bears the cost of the inbound     Disputed. MFS' corporate witness
    6          and outbound transportation of        testified that McLane is reimbursed
               products at the Riverside DC.         for these costs. Hayes Dep., 26:2-
    7                                                15.
    8                                                Disputed. MFS' corporate witness
         26.   MFS pays earners for inbound
    9          shipments of products to the          testified that McLane is reimbursed
               Riverside DC, and it pays its         for transportation charges. Hayes
    10                                               Dep., 26:2-15.
               employee drivers for the outbound
    11         shipments of products to Restaurant
               Customers.
    12

    13   27.   MFS        also   manages       the   Disputed that MFS uses "Vantix" or
               transportation of certain products    any other in-house third-party
    14         from suppliers shipped to the         freight provider. MFS' corporate
    15         Riverside DC by using its own in-     witnesses made no mention about
               house third-party freight provider,   this when asked about McLane as a
    16         Vantix.                               distributor, and McLane disclosed
    17                                               no information about this m
                                                     discovery. Moreover, the McLane
    18
                                                     does not manage or control any out
    19                                               of state suppliers. The terms of any
                                                     management or control of these
   20
                                                     suppliers are set by the Master
   21                                                Services Agreement. Hayes Dep.,
                                                     14: 14-24 (RCSC "both negotiates
   22
                                                     agreements with suppliers providing
   23                                                for the pnce and other terms
                                                     pursuant to which suppliers will sell
   24
                                                     products to operators for use m
   25                                                retail outlets.").
   26                                                See also Plaintiffs' Evidentiary
   27                                                Objections filed separately.
   28    28.   Approximately 40-50% of inbound       Undisputed but not material.


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    I          freight to the Riverside DC 1s            See also Plaintiffs' Evidentiary
    2          managed by Vantix.                        Objections filed separately.

    3    29.   MFS can and does track the                Disputed. Defendant does not track
               products received from suppliers          or otherwise maintain records
    4
               and    delivered     to    Restaurant     regarding the date a particular
    5          Customers from the Riverside DC,          product from outside the state of
               including without limitation: date        California leaves for delivery to its
    6
               received at the Riverside DC,             Riverside distribution center .11: 11-
    7          shipment and delivery date to the         13: 1, 36:8-25; Tiblier Dep., 61:21-
               Restaurant Customer, vendor and           62:18.
    8
               source      location,     purchasing
    9          Restaurant Customer and location,
   10
               and product purchased and delivered
               including type, size, weight, quantity
   11          and expiration or use by date (the
    12
               "Tracking Data").

         30.   Depending        on     the     earner    Disputed. See Response to No. 29.
    13
               transporting ordered products to the
    14
               Riverside DC, MFS may also be
    15         able to track the location of the truck
               carrying those inbound products.
    16

    17   31.   Products ordered by MFS typically         Undisputed.
               are received at the Riverside DC in
    18         cases on pallets.
    19
         32.   Upon arrival of a product shipment        Undisputed.
   20          at the Riverside DC, a MFS receiver
               unloads the pallets from the truck.
   21

   22    33.   The cases of product on the pallet        Undisputed.
               received at the Riverside DC are
   23          usually shrink wrapped together to
    24         avoid cases moving during transit.
   25    34.   At least one adhesive label with a        Undisputed.
   26          scannable barcode has been affixed
               by the supplier to the shrink-
   27          wrapped pallet received at the
   28          Riverside DC (i.e., the "pallet tag").


                                                   11
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         35.   The MFS receiver receiving the          Undisputed.
    2          supplier shipment at the Riverside
    3          DC uses a handheld scanner to scan
               the barcode on the pallet tag to
    4          identify the product on the pallet,
    5          the supplier location, and the
               expiration or use-by date for the
    6          product.
    7
         36.   The information scanned from the        Undisputed.
    8          supplier's pallet tag on product
               shipments received at the Riverside     However, this information should
    9                                                  be stricken smce no information
               DC is saved in MFS's JD Edwards
    10         inventory management system.            was disclosed about "JD Edwards
                                                       inventory management system." See
    11                                                 also     Plaintiffs'     Evidentiary
    12
                                                       Objections filed separately.

    13   37.   The MFS receiver will then generate     Disputed. Defendant does not track
               an internal pallet label (a "license    or otherwise maintain records
    14         plate") for the product shipment        regarding the date a particular
    15         received at the Riverside DC that       product from outside the state of
               includes a umque "lot" number,          California leaves for delivery to its
    16                                                 Riverside distribution center .11: 11-
               which 1s a unique MFS- created
    17         next-number identifier for products,    13:1, 36:8-25; Tiblier Dep., 61:21-
               and it ties back to the supplier, the   62:18.
    18         inbound purchase order, and the
    19         receipt date of a product.
   20    38.   The MPS-generated license plate         Disputed. Defendant does not track
   21
               tracks the item number, lot number,     or otherwise maintain records
               receipt date, expiration or use-by      regarding the date a particular
   22          date, inbound purchase order            product from outside the state of
   23          number, and DC location.                California leaves for delivery to its
                                                       Riverside distribution center .11: 11-
   24                                                  13:1, 36:8-25; Tiblier Dep., 61:21-
   25                                                  62:18.

   26    39.   The license plate is affixed by the     Undisputed that McLane only tracks
               MFS receiver to the bottom right        products by their lot.
   27
               case on the unwrapped pallet for
   28          each lot received at the Riverside


                                                12
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     1         DC.
    2
         40.   The license plate 1s scanned by           Undisputed that McLane only tracks
    3          Riverside DC personnel and tracked        products by their lot. Disputed that
    4          m MFS's JD Edwards inventory              McLane tracks each product case.
               management system each time the           McLane does not know which
    5          product is moved or selected for          McLane customer received which
    6          delivery within the Riverside DC.         particular bottle of water, chicken
                                                         wmg or box of waffle fries.
    7                                                    Defendant does not track or
    8                                                    otherwise       maintain     records
                                                         regarding the date a particular
    9                                                    product from outside the state of
    10                                                   California leaves for delivery to its
                                                         Riverside distribution center .11: 11-
    11
                                                         13:1, 36:8-25; Tiblier Dep., 61:21-
    12                                                   62:18.
    13   41.   There may be more than one lot            Undisputed that McLane only tracks
               number assigned to a single pallet of     products by their lot. Disputed that
    14
               products received at the Riverside        McLane tracks each product case.
    15         DC where, for example, there are          McLane does not know which
               different types of products or            McLane customer received which
    16
               products with different expiration        particular bottle of water, chicken
    17         dates on a single pallet.                 wmg or box of waffle fries.
    18
                                                         Defendant does not track or
                                                         otherwise       maintain     records
    19                                                   regarding the date a particular
   20
                                                         product from outside the state of
                                                         California leaves for delivery to its
   21                                                    Riverside distribution center .11: 11-
   22
                                                         13: 1, 36:8-25; Tiblier Dep., 61:21-
                                                         62:18.
   23
         42.   The MFS receiver typically would          Undisputed.
   24          separate different lots received at the
   25          Riverside DC on one supplier pallet
               onto separate pallets.
   26

   27    43.   No processing, repacking, or              Disputed. As McLane's own facts
               modification of products received         establish,   McLane     separates
   28          from suppliers occurs at the              products into lots, labels them,


                                                  13
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               Riverside DC.                            assigns them to a pallet, and places
    2                                                   them m m "general inventory"
                                                        unless and until the local franchises
    3                                                   in California place separate orders
    4                                                   for those products, which McLane
                                                        then resells on the retail market for
    5
                                                        a profit. Hayes Depo., 17:15-23,
    6                                                   18:20-21:13, 25:21-26:15, 37:11-
                                                        14; Taub Dep., 8:17-10:12, 19:12-
    7
                                                        17, 20:9-22: 14, 36:3-7. Tiblier Dep.,
    8                                                   44:1-17.
    9    44.   Products selected for delivery to        Undisputed.
   10
               Restaurant     Customers     at the
               Riverside DC are generally full case
   11          picks-    meanmg order selectors
   12
               pick an entire case of product from a
               rack storage location.
   13
         45.   If a product ts ordered by a             Disputed. As McLane' s own facts
   14                                                   establish,     McLane        separates
               Restaurant Customer and sold to
    15         them in a quantity of less than a full   products into lots, labels them,
               case (which is rare), the products       assigns them to a pallet, and places
    16                                                  them m m "general inventory"
               may be removed from a case as
    17         necessary, but they are not              unless and until the local franchises
               processed, repackaged, or modified       in California place separate orders
    18                                                  for those products, which McLane
               in any way at the Riverside DC.
    19                                                  then resells on the retail market for
                                                        a profit. Hayes Depo., 17:15-23,
   20
                                                         18:20-21:13, 25:21-26:15, 37:11-
   21                                                    14; Taub Dep., 8:17-10:12, 19:12-
                                                         17, 20:9-22: 14, 36:3-7. Tiblier Dep.,
   22
                                                        44:1-17.
   23
         46.   Products are delivered by MFS to         Disputed. McLane's UF included a
   24          Restaurant Customers in the same         contrary statement: "The cases of
   25
               packaging in which they are received     product on the pallet received at the
               from the suppliers.                      Riverside DC are usually shrink
   26                                                   wrapped together to avoid cases
   27                                                   movmg during transit."         Since
                                                        products are not delivered to
   28                                                   McLane' s customers m shrink


                                                 14
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     l                                                  wrapped pallets, they cannot be
    2                                                   delivered in the "same packaging as
                                                        they are received from the
    3                                                   suppliers."
    4                                                   Undisputed      that    items    from
         47.   Products received by MFS from
    5          suppliers at the Riverside DC for        suppliers are stored m general
               delivery to Restaurant Customers are     inventory. Disputed that storage is
    6                                                   "temporary."       After      McLane
               temporarily stored m aisles of
    7          inventory racks while awaiting           receives and stores the shipped
               distribution to the Restaurant           products, it does not track the actual
    8                                                   products in their interstate journey
               Customers.
    9                                                   (only the pallets or boxes they come
                                                        in) or know which McLane
    10                                                  customer received which particular
    11                                                  bottle of water, chicken wing or box
                                                        of waffle fries. Taub Depo., 11:11-
    12                                                  13: 1, 36:8-25; Tiblier Dep., 61:21-
   13                                                   62:18.
    14                                                  McLane corporate witness also
    15                                                  testified that he did not know how
                                                        long items are stored m the
    16                                                  distribution center. Hayes Depo.,
    17                                                  21: 14-22:16.
    18
         48.   The Riverside DC temporarily stores      Disputed. See Response to No. 47.
               most of the products it receives from
    19         suppliers by the Chain Customer's
   20          brand for which those products have
               been ordered, so the majority of
   21          those aisles of inventory racks in the
   22          Riverside     DC     are    generally
               dedicated to the temporary storage
   23          of products only for a Chain
   24          Customer's particular brand of
               affiliated Restaurant Customers.
   25

   26    49.   For    example,     BWW-branded          Undisputed    that   items   from
               chicken wings that are received at       suppliers are stored in a specific
   27          the Riverside Distribution Center        area in the warehouse. But this is
   28          from a supplier in response to an        not material.
               MFS order for that product are

                                                  15
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               stored in an aisle in which only
    2          other products that MFS has ordered
               for purchase by and delivery to
    3          BWW-affiliated           Restaurant
    4          Customers are generally stored.
    5    50.   Only non-proprietary items that are     Undisputed    that   items   from
    6
               used by multiple Chain Customers'       suppliers are stored in a specific
               restaurants (e.g., Coke or Pepsi soft   area in the warehouse. But this is
    7          drinks) are stored m "common"           not material.
    8
               aisles in the Riverside DC.

    9    51.   MFS order selectors at the Riverside    Undisputed but not material.
               DC pick products ordered by
   10
               Restaurant Customers for delivery to
   11          them by MFS.
   12    52.   Selectors wear a wrist device that      Undisputed but not material.
   13          tells them which and how many
               cases of each product to pick, and
   14          where the product is in the Riverside
   15          DC.

   16    53.   The selector scans each case of         Undisputed but not material.
               product as it is picked and places
   17
               each case on a pallet for delivery to
   18          the Restaurant Customer from the
               Riverside DC.
    19

   20    54.   The Riverside DC selector's wrist       Undisputed but not material.
               device prints the number of labels
   21          corresponding to the Restaurant
   22          Customer's ordered case quantity
               for that product (i.e., the number of
   23
               cases of that item ordered).
   24
         55.   The Riverside DC selector affixes       Undisputed as this 1s part of
   25          the printed labels to each selected     McLane' s processing  of the
   26          case placed on the pallet for the       products it receives.
               order by the Restaurant Customer to
   27          be delivered from the Riverside DC.
   28



                                                16
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         56.   Each printed label affixed by the        Disputed. After McLane receives
    2          MFS selector on each of the cases        and stores the shipped products, it
               selected by them at the Riverside        does not track the actual products in
    3                                                   their interstate journey (only the
               DC has a unique barcode on it that
    4          ties back to the lot number for the      pallets or boxes they come in).
               selected case.                           McLane does not know which
    5                                                   McLane customer received which
    6                                                   particular bottle of water, chicken
                                                        wing or box of waffle fries. Taub
    7
                                                        Depo., 11:11-13:1, 36:8-25; Tiblier
    8                                                   Deo., 61:21-62:18.
         57.   When a MFS driver delivers ordered       Disputed. After McLane receives-
    9
               cases of products to the Restaurant      and stores the shipped products, it
    10         Customer from the Riverside DC           does not track the actual products in
    11         the driver scans the barcode on each'    their interstate journey (only the
               of the printed labels affixed by the     pallets or boxes they come in).
    12         selector on each of the cases they       McLane does not know which
               are delivering, capturing the delivery   McLane customer received which
    13
               time and location for each case-         particular bottle of water, chicken
    14         which information 1s saved m             wing or box of waffle fries. Taub
               MFS's JD Edwards system.                 Depo., 11:11-13: 1, 36:8-25; Tiblier
    15
                                                        Deo., 61:21-62:18
    16   58.   MFS can and does track on which          Disputed. After McLane receives
               truck and on which route each            and stores the shipped products, it
    17
               product was delivered to the             does not track the actual products in
    18         Restaurant Customers' locations          their interstate journey (only the
               from the Riverside DC.                   pallets or boxes they come in).
    19
                                                        McLane does not know which
   20                                                   McLane customer received which
                                                        particular bottle of water, chicken
   21
                                                        wing or box of waffle fries. Taub
   22                                                   Depo., 11:11-13:1, 36:8-25; Tiblier
                                                        Dep., 61 :21-62: 18.
   23
         59.   Products received at the Riverside       Undisputed that products sit m
   24
               DC from out-of-state suppliers and       general inventory at the McLane
   25          bound for a Restaurant Customer          distribution center. The products
               have an average days in inventory        McLane receives at its Riverside
   26
               ("DII") count of 13 days.                distribution center remain m
   27                                                   "general inventory" unless and until
                                                        the local franchises in California
   28
                                                        place sevarate orders for those

                                                 17
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                                                      products, which McLane then
    2                                                 resells on the retail market for a
                                                      profit. See Hayes Depo., 17:15-23,
    3                                                 18:20-21:13, 25:21-26:15, 37:11-
    4                                                 14; Taub Dep., 8:17-10:12, 19:12-
                                                      17, 20:9-22: 14, 36:3-7. Tiblier Dep.,
    5                                                 44:1-17.
    6
         60.   Many products received from            Undisputed that products sit m
    7          suppliers at the Riverside DC with     general inventory at the McLane
               short shelf lives, such as produce     distribution center unless and until
    8
               and meat, have a maximum shelf life    the local franchises in California
    9          of between 2 and 7 days during         place separate orders for those
    10
               which they can be sold and delivered   products, which McLane then
               to Restaurant Customers.               resells on the retail market for a
    11                                                profit. See Hayes Depo., 17:15-23,
    12
                                                      18:20-21:13, 25:21-26:15, 37:11-
                                                      14; Taub Dep., 8:17-10:12, 19:12-
    13                                                17, 20:9-22: 14, 36:3-7. Tiblier Dep.,
                                                      44:1-17.
    14

    15   61.   MFS owns the Riverside DC.             Undisputed.

    16   62.   MFS employs all of the individuals     Undisputed.
               who work at the Riverside DC
    17
               (including receivers, selectors and
    18         drivers).
    19   63.   MFS determines the delivery routing    Undisputed.
   20          of ordered products from the
               Riverside DC to the Restaurant
   21
               Customers and actually performs
   22          such transportation usmg drivers
               like Plaintiffs employed by MFS.
   23

   24    64.   MFS's transportation operations are    Disputed.       See       Plaintiffs'
               conducted directly or indirectly       Evidentiary     Objections      filed
   25          through its 100% commonly owned        separately. This information should
   26          affiliates, MFS Fleet, Inc. ("MFS      be stricken because McLane failed
               Fleet")     and/or  Transco,   Inc.    to disclose any information about
   27          ("Transco"), which are consolidated    MFS Fleet, Transco, or any other
   28          fleet entities that support MFS's      entities.


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     1         foodservice delivery operations at its
    2          DCs nationwide, including the
               Riverside DC.
    3
         65.   MFS Fleet is an interstate motor         Disputed.       See       Plaintiffs'
    4
               earner registered with the U.S.          Evidentiary     Objections      filed
    5          Department     of  Transportation        separately. This information should
    6
               ("DOT").                                 be stricken because McLane failed
                                                        to disclose any information about
    7                                                   MFS Fleet, Transco, or any other
                                                        entities.
    8
         66.   Transco is an interstate motor carrier   Disputed.       See       Plaintiffs'
    9
               registered with the DOT.                 Evidentiary     Objections      filed
    10                                                  separately. This information should
                                                        be stricken because McLane failed
    11
                                                        to disclose any information about
    12                                                  MFS Fleet, Transco, or any other
                                                        entities.
    13
         67.   MFS Fleet owns and/or operates the       Disputed.       See       Plaintiffs'
    14         tractors and trailers that are           Evidentiary     Objections      filed
    15         exclusively used by MFS m its            separately. This information should
               foodservice delivery operations.         be stricken because McLane failed
    16                                                  to disclose any information about
    17                                                  MFS Fleet, Transco, or any other
                                                        entities.
    18
         68.   A portion of the tractors and trailers   Disputed.       See       Plaintiffs'
    19                                                  Evidentiary     Objections      filed
               operated by MFS Fleet are owned
   20          and titled, or leased from third party   separately. This information should
               vendors, in the name of Transco,         be stricken because McLane failed
   21                                                   to disclose any information about
               which in turn leases (or subleases)
   22          that equipment to MFS Fleet.             MFS Fleet, Transco, or any other
                                                        entities.
   23
         69.   MFS Fleet operates as MFS's m-           Disputed.       See       Plaintiffs'
   24          house motor carrier.                     Evidentiary     Objections      filed
   25                                                   separately. This information should
                                                        be stricken because McLane failed
   26                                                   to disclose any information about
   27                                                   MFS Fleet, Transco, or any other
                                                        entities.
   28



                                                 19
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    1
         70.   Drivers employed by MFS at the           Disputed.       See       Plaintiffs'
    2          Riverside DC are leased to MFS           Evidentiary     Objections      filed
               Fleet and drive the commercial           separately. This information should
    3
               motor vehicles ("CMV s") operated        be stricken because McLane failed
    4          by    MFS     Fleet    for MFS's         to disclose any information about
               foodservice delivery operations.         MFS Fleet, Transco, or any other
    5
                                                        entities
    6    71.   Because the CMV s used by MFS in         Undisputed that McLane's trucks
    7          its foodservice delivery operations      have ELD.
               are operated by a DOT federally-
    8          regulated motor earner, MFS 1s
    9          required to outfit its trucks with an
               electronic logging device ("ELD")
   10          used by its drivers to accurately
   11          record their duty status, along with
               other data elements such as the date,
   12          time and geographic location
   13          information of the truck when it is in
               transit.
   14
   15
         72.   MFS utilizes the PeopleNet fleet         Undisputed that McLane's trucks
               management software and a global         have GPS.
   16          positioning system ("GPS") that
   17
               provides end-to-end tracking of the
               CMVs used by MFS m its
   18          foodservice delivery operations.
   19
         73.   The information collected by the         Undisputed that McLane collects
               ELD and PeopleN et software              data with ELD and PeopleNet.
   20
               includes, among other things, the
   21
               date, time and GPS coordinates
   22          (including city and state) associated
               with each activity a driver logs into
   23
               the ELD and/or that is automatically
   24          logged by the ELD.
   25    74.   MFS provides transportation of           Undisputed.
   26          goods from the Riverside DC to
               Restaurant    Customers     for
   27          compensation.
   28



                                                20
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     1
         75.   MFS is a motor carrier.                  Undisputed.
    2
         76.   Since January 2021, the Riverside        Undisputed that McLane has
    3
               DC       has had     on    average       interstate routes.    Disputed that
    4          approximately 30 weekly routes           these routes are just randomly
               delivering orders to Restaurant          assigned to its drivers.       More
    5
               Customers    outside    California,      specifically, drivers bid on these
    6          including m Utah, Nevada, and            routes and 280-290 of other
               Arizona, which routes are assigned       intrastate routes. Tiblier Dep.,
    7
               to and driven by dozens of MFS           20:12-21. McLane drivers do not
    8          drivers.                                 have to bid on interstate routes - it
                                                        is voluntary. Tiblier Dep., 21:6-17;
    9
                                                        22:11-19 (no discipline for not
    10                                                  taking such routes). Defendant's
                                                        drivers are not required or expected
    11
                                                        to take any route they are assigned.
    12                                                  Id. at 25:12-20, 29:2-25.
    13   77.   The Riverside DC currently runs          Undisputed.
    14         approximately 32 routes per week
               that deliver to Restaurant Customers
    15         outside of California, including in
    16         Nevada and Utah.

    17   78.   The     Riverside      DC      runs      Undisputed.
               approximately 300 delivery routes
    18
               per week that deliver to Restaurant
    19         Customers within California.
   20    79.   MFS's drivers working out of the         Undisputed.
   21          Riverside DC bid on the regular
               workdays and scheduled delivery
   22          routes they want to be assigned on a
   23          semi-annual basis.
   24    80.   MFS drivers at the Riverside DC          Undisputed.
   25          with the most seniority get to bid on
               their preferred workdays and routes
   26          first, followed by drivers with
   27          progressively less seniority until all
               of the required workdays and routes
   28          are chosen.


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     1
         81.   "Bracket drivers" are drivers at the      Undisputed that        McLane      has
    2          Riverside DC who did not get              "bracket drivers."
    3          assigned any routes or a full
               schedule of routes during the bid
    4          process.
    5                                                    Disputed.     Defendant's     drivers,
         82.   Bracket drivers at the Riverside DC
    6          are responsible for covering open         including bracket drivers, are not
               routes as and when available and          required or expected to take any
    7                                                    route they are assigned. Id. at 25: 12-
               thus can be asked to cover any route,
    8          including an interstate route, at any     20, 29:2-25.
               time.
    9
         83.   If there are no bracket drivers           Disputed. Defendant's drivers are
    10
               available to cover an open route at       not required or expected to take any
    11         the Riverside DC, another driver -        route they are assigned. Id. at 25: 12-
               including a driver who bid on and         20, 29:2-25.
    12
               received a regular route - must
    13         cover the open route.
    14                                                   Disputed. Defendant's drivers are
         84.   In addition to, or at times in lieu of,
    15         their regular workdays and routes,        not required or expected to take any
               non- bracket drivers at the Riverside     route they are assigned. Id. at 25: 12-
    16                                                   20, 29:2-25.
               DC may be required to cover open
    17         routes due to vacation, call-offs,
    18
               mJunes, and other circumstances
               that cause the driver that typically
    19         drives the route to be unavailable to
   20
               do so.

   21    85.   All Riverside DC drivers (i.e.,           Disputed. Defendant's drivers are
               bracket and non-bracket drivers) can      not required or expected to take any
   22
               be assigned to cover any route at any     route they are assigned. Id. at 25:12-
   23          time during holidays, natural             20, 29:2-25. Tiblier Dep., 29:19-
               disasters, emergencies, or otherwise      31: 1. Bidding occurred every six
   24
               as MFS deems necessary to achieve         months and once drivers accepted
   25          consistent    deliveries    to     its    their local routes, they were
               customers.                                expected to stay on that route for a
   26
                                                         six-month period.      Tiblier Dep.,
   27                                                    29:19-31:1.
   28    86.   Riverside    DC    drivers   may    be    Undisputed that drivers may be


                                                  22
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               temporarily assigned to work at          temporarily assigned to work at
    2          another MFS DC outside of                another MFS DC outside of
               California.                              California. Disputed that driver
    3                                                   must     work     this    assignment.
    4                                                   Defendant's drivers are not required
                                                        or expected to take any route they
    5                                                   are assigned. Id. at 25: 12-20, 29:2-
    6                                                   25. Bidding occurred every six
                                                        months and once drivers accepted
    7                                                   their local routes, they were
    8                                                   expected to stay on that route for a
                                                        six-month period.      Tiblier Dep.,
    9                                                   29:19-31:1.
    10
         87.   Riverside DC drivers, including          Disputed. Drivers do not pick their
    11         Plaintiffs during their employment       trucks. McLane assigns drivers
   12
               with MFS, bid on the trucks (i.e.,       truck based on a driver's weekly
               tractors) that they wanted to drive.     mileage for the route and then
    13                                                  drivers keep the same truck for the
    14
                                                        6-month duration of their route
                                                        assignment. Tiblier Depo., 31 :7-
    15                                                  33: 17.
    16   88.   Riverside DC drivers must meet a         Undisputed but not material.
    17         minimum miles per week threshold,
               which changes for each bid
    18         depending on staffing levels, route
    19         volume, and fleet size, in order to
               qualify for the tractor bid.
   20

   21
         89.   Depending on the number of weekly        Undisputed but not material.
               miles driven by drivers at the time of
   22          the tractor bid and their seniority in
   23          companson       to    other    drivers
               employed at the Riverside DC,
   24          drivers (including Plaintiffs during
   25          their employment) can bid on
               tractors m one of three classes
   26          (which are based on the age and
   27          milage of the tractors).

   28    90.   Plaintiff   Jordan   Orozco Madero       Undisputed.


                                                 23
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     1         ("Madero") was employed by MFS
    2          and worked as a driver at the
               Riverside DC from January 2019 to
    3          September 2023.
    4
         91.   Plaintiff Esteban Orosco ("Orosco")      Undisputed.
    5          was employed by MFS and worked
    6
               as a driver at the Riverside DC from
               August 2018 to November 2023.
    7
         92.   All truck drivers employed by MFS,       Undisputed.
    8
               including Plaintiffs during their
    9          employment, are required to have
               and maintain a valid Commercial
    10
               Driver License ("CDL").
    11
         93.   All truck driver employed by MFS,        Undisputed that McLane drivers
    12         including Plaintiffs during their        maintained electronic logs using the
    13         employment, were required to             electronic logging devices in their
               maintain electronic logs of their        trucks. Disputed that these logs are
    14         duty status pursuant to the Federal      accurate. Plaintiffs allege that they
    15         Motor          Carrier          Safety   were required to log out for their
               Administration's Hours of Service        meal periods even though they did
    16         ("HOS") regulations and to use the       not actually take their meal period.
    17         electronic logging devices in their      Plaintiffs further alleged that the
               trucks to accurately record their duty   records do not reflect work done
    18         status.                                  before they entered their truck and
    19                                                  after they left their trailer. This
                                                        work       was     unreported     and
   20                                                   uncompensated - i.e., paperwork,
   21                                                   key checks, routing, and waiting for
                                                        the load. [So-called "off the clock"
   22                                                   work]. First Amended Complaint,
   23                                                   ,r,r25-44.
   24    94.   Throughout their employment with         Undisputed.
   25
               MFS, Plaintiffs were employed as
               drivers.
   26
         95.   As drivers, Plaintiffs' primary job      Undisputed.
   27
               duty was to operate large CMV s on
   28          public roads and highways to deliver


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     1         products to     MFS's     Restaurant
    2          Customers.

    3    96.   The CMVs driven by drivers at the        Undisputed.
               Riverside DC all have a gross
    4
               vehicle weight rating of over 10,000
    5          pounds-    and usually 33,000 to
    6
               80,000 pounds.

    7    97.   At no time during their employment       Undisputed.
               did Plaintiffs drive a CMV or other
    8
               vehicle weighing less than 10,000
    9          pounds.
    10   98.   Plaintiff Madero drove interstate        Undisputed. However, Plaintiffs
    11         routes for MFS on over 10 occasions      Madero and Orosco last out-of-state
               between January 2020 and March           trip was on March 3, 2022 and
    12         2022.                                    November 28, 2021 respectively.
    13                                                  See HOS records attached to
                                                        McLane' s Motion to Dismiss, Deel.
    14                                                  of Marcus Tiblier. Exh. C.
    15                                                  Undisputed. However, Plaintiffs
         99.   Plaintiff Orosco drove interstate
    16         routes for MFS on over 20 occasions      Madero and Orosco last out-of-state
               between December 2019 and                trip was on March 3, 2022 and
    17                                                  November 28, 2021 respectively.
               November 2021.
    18                                                  See HOS records attached to
                                                        McLane's Motion to Dismiss, Deel.
    19
                                                        of Marcus Tiblier. Exh. C.
    20
         100. During his employment with MFS,           Disputed. Orosco did not "routinely
   21         Orosco routinely traveled to MFS          travel" to MFS distribution centers
              distribution centers in other states on   in other states. There was only a
   22
              temporary assignments to work as a        handful of times that he drove for
   23         driver at those distribution centers.     McLane outside of California. In
   24
                                                        2019, he drove one route that went
                                                        to St. George in Utah, and Las
   25                                                   Vegas, Nevada. I drove this route
   26                                                   for about a month. During that time,
                                                        my other routes were still local,
   27                                                   within the state of California.
   28                                                   Orosco Deel. ,r 4. Any assignments
                                                        out of state were for a limited time

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                                                        period and only at the beginning of
    2                                                   their employment.
    3    101. During his employment with MFS,           Disputed. Madero' s out of state
              Madero also traveled to MFS               travel was very limited at the
    4
              distribution centers in other states on   beginning of his employment. At
    5         temporary assignments to work as a        the start of his employment, he
              driver at those distribution centers.     worked out of Wisconsin for a
    6
                                                        month. Then he drove a route to
    7                                                   Utah and Las Vegas as part of his
                                                        training, for about 2 weeks, for 2-3
    8
                                                        days a week. Around 2020, he also
    9                                                   drove in Kansas for about a month.
                                                        Approximately two years ago, he
    10
                                                        drove in Nevada for about a month.
    11                                                  Madero Deel. ,r4. However, he was
                                                        not required to take these routes and
    12
                                                        was      simply     offered     them.
    13                                                  Defendant's drivers are not required·
                                                        or expected to take any route they
    14
                                                        are assigned. Tiblier Depo., 25: 12-
    15                                                  20, 29:2-25.
    16   102. Products ordered by MFS and               Disputed that these goods were in
    17        received at the Riverside DC from         "interstate    travel."    McLane's
              out-of-state suppliers for delivery to    suppliers/shippers lack the requisite
    18        its Restaurant Customers therefrom        fixed and persistent intent for a
    19        were transported by Plaintiffs on         continuous movement in interstate
              every California                          commerce concernmg any goods
   20                                                   that Plaintiffs transported beyond
   21                                                   the distribution center. Tiblier Dep.
                                                        40:22-24, 43:4-7, 46:4-24, 47:4-24,
   22                                                   48:4-10; Hayes Dep., 24:2-5 (all
   23                                                   products are for resale); Corporate
                                                        FRCP 30(b)(6) Representative Mike
   24                                                   Taub Deposition ("Taub Dep."),
   25                                                   36:3-7 (same). All of McLane's
                                                        suppliers intended to ship products
   26
                                                        directly to McLane's distribution
   27                                                   center m Riverside, California.
                                                        Tiblier Depo., 40:22-24, 43:4-7 .. ,
   28
                                                        47:4-24 (confirming that McLane's


                                                 26
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     1                                               suppliers ship directly to the
    2                                                distribution center; 43 :4-7, 46:4-24,
                                                     48:4-10. (explaining explained that
    3                                                shipper, Simmons Foods, Inc.
    4                                                according to one order ships boxes
                                                     of chicken wmgs from Gentry,
    5                                                Arkansas directly to Defendant's
    6                                                distribution center m Riverside,
                                                     California).
    7
         103. As an example, on August 18, 2021,     Disputed. See Response to No. 102.
    8
              Madero drove a California intrastate
    9         delivery route on which (a) he
              delivered 1,202 cases of product to
    10
              Restaurant Customers from the
    11        Riverside DC that had been
    12
              temporarily stored in the Riverside
              DC for an average of 11.5 days, (b)
    13        686 or 57.1% of those 1,202 cases
    14
              had been received at the Riverside
              DC from non- California suppliers,
    15        (c) those 686 cases received from
    16
              non-California suppliers had been
              temporarily stored at the Riverside
    17        DC for an average of 12.0 days, and
    18
              (d) 548 or 45.6% of those 1,202
              cases received from non- California
    19        Suppliers had been temporarily
   20         stored in the Riverside DC for up to
               12.0 days.
   21
         104. As an example, on April 26, 2021,      Disputed. See Response to No. 102.
   22
              Orosco drove a California intrastate
   23         delivery route on which (a) he
              delivered 93 7 cases of product to
   24
              Restaurant Customers from the
   25         Riverside DC that had been
              temporarily stored in the Riverside
   26
              DC for an average of 11.8 days, (b)
   27         492 or 52.5% of those 937 cases had
              been received at the Riverside DC
   28
              from non-California suppliers, (c)

                                              27
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               those 492 cases received from non-
    2          California suppliers had been
               temporarily stored at the Riverside
    3          DC for an average of 13.9 days, and
    4          (d) 388 or 41.4% of those 937 cases
               received     from    non-California
    5          Suppliers.
    6
         105. During their employment m the            Disputed. See Response to No. 102.
    7         applicable     limitations   period,
    8
              Madero and Orosco delivered
              495,943 and 402,499 total cases of
    9         product, respectively, to Restaurant
    10
              Customers from the Riverside DC
              on California intrastate delivery
    11        routes, which cases had been
    12
              temporarily stored in the Riverside
              DC for an average of 13.2 and 13.3
    13        days, respectively.
    14
         106. With respect to the cases of product     Disputed. See Response to No. 102.
    15        that     Plaintiffs    delivered    to
              Restaurant Customers from the
    16
              Riverside     DC     on     California
    17        intrastate delivery routes during
              their employment in the applicable
    18
              limitations period, over 50% of
    19        those cases originated from suppliers
              outside of California.
   20
   21    107. With respect to the cases of product     Disputed. See Response to No. 102.
              that     Plaintiffs   delivered    to
   22         Restaurant Customers from the
   23         Riverside     DC     on    California
              intrastate delivery routes during
   24         their employment in the applicable
   25         limitations period, those cases were
              in the Riverside DC for an average
   26         of 13.9 and 14.2 days as to
   27         Madero' s and Orosco' s routes,
              respectively, before being delivered
   28



                                                28
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                to the Restaurant Customers.
    2
          108. With respect to the cases of product        Disputed. See Response to No. 102.
    3          that Plaintiffs delivered to Restaurant
    4          Customers from the Riverside DC on
               California intrastate delivery routes
    5          during their employment m the
    6          applicable       limitations    period,
               218,426 or 44.0% of those cases
    7
               delivered by Madero were in the
    8          Riverside DC for up to 13.9 days
               and 170,794 or 42.4% of those cases
    9
               delivered by Orosco were in the
    10         Riverside DC for up to 14.2 days
               before being delivered to the
    11
               Restaurant Customers.
   12

   13

   14
                                                         Respectfully Submitted,
   15
         Dated: August 29, 2024                    DESAI LAW FIRM, P.C.
   16
    17                                             By:         ls/Aashish Y. Desai
                                                         Aas hish Y. Desai
    18                                                   Adrianne De Castro
                                                         DESAI LAW FIRM, P.C.
    19

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